                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )        No. 3:14-cr-00037-1
                                                )        Judge Sharp
HECTOR PALMA ZAPIEN                             )
a/k/a Hector Paima Zapien                       )

                          ORDER AND MEMORANDUM OPINION

       Pending before the Court is the Government’s Emergency Motion to Review Release Order

(Docket No. 26), by which the Government seeks to overturn Magistrate Judge Bryant’s Order

(Docket No. 18) allowing Defendant’s release pending trial. Although the Court will not overturn

the release Order, the Court will impose additional conditions, so as to ensure Defendant’s

attendance at pretrial proceedings and trial.

                                                    I.

       On February 11, 2014, Defendant was arrested on a criminal complaint charging one count

of structuring in violation of 31 U.S.C. § 5324. That same day, search warrants were executed at

five locations, including Defendant’s residence. During the search of Defendant’s residence, agents

discovered fraudulent documents (including ten Social Security cards, seven of which were

fraudulent), six firearms (three handguns, two rifles, and one shotgun), a currency counter, and

approximately $180,000 in cash, the bulk of which was found in a safe next to a loaded handgun.

       On February 21, 2014, Magistrate Judge Bryant held a combined preliminary hearing and

detention hearing as to Defendant and three others who had been charged by criminal complaint.

He found probable cause to bind Defendant and the others over for grand jury proceedings, but

released all of the individuals on bond with certain conditions.

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          Subsequently, the grand jury returned an Indictment against Defendant and the three others.

The Indictment is in thirty-three counts and contains forfeiture allegations. Among other things, the

Indictment alleges that Defendant structured in excess of $9,000,000 over a five year-period for

transfer to Mexico and other Central American locations. On February 25, 2014, the Department

of Homeland Security (“DHSA”) reinstated Defendant’s previous order of removal.

          The Government claims it received a copy of the reinstated order on March 10, 2014, and

was advised that the order would be enforced immediately and that Defendant would be transferred

the following day to Alabama to begin the removal proceedings. Thus, the Emergency Motion for

Review was filed in this Court.

          In response to the Government’s Emergency Motion, Defendant argues that “[t]he problems

currently existing between two departments within the Executive Branch, the U.S. Department of

Justice and the U.S. Department of Homeland Security are of the government’s own making.”

(Docket No. 28 at 2). He also argues that the Court is called upon to reconcile the provisions of the

Bail Reform Act of 1987, as amended, 18 U.S.C. § 3141 et seq., with the Immigration and

Nationality Act of 1965, 8 U.S.C. § 1101, et seq., and, specifically the latter’s provision that when

an alien is found to be in the country illegally, the Department of Homeland Security “‘may remove

and deport that person,’” or, “‘if such an alien is believed to have committed a federal offense,

including reentry, ICE [Immigration and Customs Enforcement] may choose to postpone the

removal and deportation of that person while the U.S. Attorney’s office brings a criminal

prosecution.’” (Id. quoting United States v. Trujillo-Alvarez, 900 F. Supp. 2d 1167, 1169 (D. Ore.

2012)).

          The Court was informed at a hearing held on March 13, 2014, that whatever internecine


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dispute may have occurred within the Executive branch, it has been resolved because the DHS has

decided to forego removal proceedings at this time in favor of the criminal proceeding pending in

this Court. Accordingly, the Court turns to the issue of whether Defendant should be released in

light of the return of the Indictment.

                                                 II.

       When a defendant is released by order of a Magistrate Judge, the “Government may file with

the court having original jurisdiction over the offense, a motion for revocation or amendment of the

order.” 18 U.S.C. § 3145(a)(1). Review of the Magistrate Judge’s decision is de novo, “although

the district court ‘may conduct its review and base its decision on the evidence presented to the

magistrate at the detention hearing.’” United States v. Stokes, 2006 WL 3843589, at *1 (M.D. Tenn.

Dec. 22, 2006) (citation omitted). In its discretion, the Court may also consider proffer testimony.

United States v. Stone, 608 F.3d 939, 948 (6th Cir. 2010).

       In conducting its review, the Court must determine whether the Government has met its

“ultimate burden” of “prov[ing] that no conditions of release can assure that the defendant will

appear and to assure the safety of the community.” Id. at 946. In making that determination, the

Court considers several factors, including, (1) the nature and circumstances of the offense charged;

(2) the weight of the evidence against the person; (3) the history and characteristics of the person;

and (4) the nature and seriousness of the danger to any person or the community that would be posed

by the person's release. 18 U.S.C. § 3142(g).

       With those standards in mind, the Court has conducted a de novo review of the record,

including listening to a recording of the lengthy detention hearing before Magistrate Judge Bryant.

Based upon that review, the Court concludes that there are conditions of release that will ensure


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Defendant’s appearance and the safety of the community, albeit conditions in addition to those

previously imposed by Magistrate Judge Bryant.

                                                III.

       In its Emergency Motion, the Government argues:

       In light of the defendant’s financial resources, access to various fraudulent
       identification documents, access to firearms, the current charges now pending and
       the weight of the evidence, the United States believes that the defendant is both a
       serious risk of flight and a danger to the community. At the time of his arrest, the
       defendant admitted that he had fraudulently obtained a Social Security number by
       using a false “green” card. At that time, the defendant also possessed a Tennessee
       driver’s license which he had obtained by using the fraudulent Social Security
       number.

(Docket No. 26 at 2). However, and save for the now pending Indictment, all of those matters were

before Magistrate Judge Bryant and considered by him when he decided that release under specified

conditions was appropriate.

       Certainly the return of the Indictment places the case in a different posture. Instead of a

single charge of structuring in violation of 31 U.S.C. § 5324, which carries a maximum penalty of

five years imprisonment, the Indictment levels a host of charges, some more serious than others.

Specifically, Defendant is charged with conspiracy in violation of 18 U.S.C. § 371 (Count 1);

eighteen counts of structuring in violation of 31 U.S.C. § 5324(a)(3) (Counts 2-19); operating an

unlicensed money-transmitting business in violation of 18 U.S.C. 1960(1)(b) (Count 20); making

a false statement to a bank in violation of 18 U.S.C. § 1014 (Count 21); six counts of wire fraud in

violation of 18 U.S.C. § 1343 (Counts 22-27); illegal reentry in violation of 8 U.S.C. §1326(a)(2)(b)

(Count 28); and being an illegal alien in possession of a firearm in violation of 18 U.S.C. §

922(g)(5). For each count, Defendant faces a possible prison sentence of from five to thirty years.

He also faces the possibility of forfeiting a substantial amount of money and real and personal

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property.

       However, and even acknowledging that a “grand jury indictment, by itself, establishes

probable cause to believe that a defendant committed the crime with which he is charged,” Stone,

609 F.3d at 945, the nature and circumstances underlying the present charges are the same as those

before Magistrate Judge Bryant. In fact, the Government is relying upon virtually the same record.

       Moreover, given the allegations presented at the detention hearing against Defendant and his

three co-Defendants, the prospect of additional and more serious charges loomed, the most obvious

being conspiracy, illegal reentry, and unlawful possession of a firearm, all of which are alleged in

the Indictment. The investigation has been ongoing since November 2011, and began after

Defendant ignored what defense counsel characterized as a “Dutch Uncle” talk from the First

Federal Bank of Dickson in June 2011 about cash-reporting requirements. Throughout the

investigation, DHS knew that Defendant was in this country unlawfully.

       The possibility that DHS would enter the fray and reinstate its order of removal also lurked

in the background. According to DHS Agent Tony Langeland, who testified at the detention

hearing, immigration detainers had been placed on all four Defendants with the intention being that,

if they were released pending trial, DHS would move on those detainers, Defendants would likely

be transferred to Louisiana, and supervisory agency personnel would likely recommend to the

Immigration Judge that no bond be set.

       Regardless, the Court is convinced that, even given the nature and circumstances of the

charges contained in the Indictment, there are conditions, or combinations of conditions, which can

be formulated to ensure both Defendant’s appearance and the safety of the community.

       As for the weight of the evidence against Defendant, the Sixth Circuit stated in Stone stated


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that “[t]his factor goes to the weight of the evidence of dangerousness, not the weight of the

evidence of guilt.” 608 F.3d at 948. At least one court has “construe[d] this statement to mean both

evidence of dangerousness and evidence of risk of flight given that only dangerousness was at issue

in Stone.” United States v. Villegas, 2011 WL 1135018, at *8 (E.D. Tenn. Mar. 25, 2011). “In

other words, this factor goes to how convincing the government’s arguments of dangerousness and

risk of flight are.” Id.

        The fact that Defendant is (1) in this country illegally based upon a fictitious “green” card;

(2) was found with fraudulent identification documents; (3) was in possession of a substantial

amount of cash; and (4) has a Tennessee driver’s license that was issued based upon a false Social

Security number are all obvious grounds for concern. Additionally, the evidence presented shows

that Defendant reentered this country illegally, having done so in 1995, 1998, and 2001. This, too,

is cause for concern.

        On the other hand, Defendant owns at least two businesses, which may provide some

explanation for his possession of the cash that was recovered from his home. He owns the El

Camina restaurant in Hickman County, Tennessee, and the Las Palmas Market in Dickson County,

Tennessee. Among other things, the market provides a money-transferring service for customers

who desire to send money back to Mexico. Neither Agent Langeland, nor Internal Revenue Service

Agent Christopher Pikelis, who also testified at the detention hearing, had any evidence that the

money found in Defendant’s residence was from drug proceeds or any other illegal activity.

        Additionally, certain of the factors listed in 18 U.S.C. 3142(g) pertaining to the history and

character of Defendant, including his family ties, employment, length of residence in the

community, and community ties, lessen this Court’s concern that he might flee.


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        Defendant has been in this country for more than a quarter of a century. He is married and

the father of four children. In addition to his businesses, he owns a home and a lot in Hickman

County.

        Defendant also appears to have a good reputation and strong community support, as

evidenced by the testimony of Loretta Street and Humberto Fraire at the detention hearing. Both

are former educators and have known Defendant for more than a decade.

        Ms. Street testified that Defendant was well thought of in the community, that she did not

believe he would flee, and that he would “absolutely not” pose a danger were he to be released pre-

trial. Mr. Fraire testified that Defendant provides an essential service to the Hispanic community

in Dickson County, and Mr. Fraire “definitely” believes that Defendant would abide by any pretrial

conditions imposed because Defendant has “too much to lose” given his businesses and the fact that

his family resides in Dickson County.

            The strong familial and community ties suggest that Defendant has a strong interest to

remain in the jurisdiction and face the charges against him. Moreover, the Court is of the opinion

that there are additional conditions that were not imposed by Magistrate Judge Bryant which will

provide additional incentive for Defendant to stay and reduce the likelihood that he will flee. In this

regard, the Court will (1) require Defendant to enter into a bond in the amount of $100,000, secured

by $10,000 in cash to be deposited with the court; and (2) require Defendant and his wife to agree

that any interest in their residence will be automatically forfeited if Defendant does not appear as

required.1 Further, the Court will impose as additional conditions that Defendant be subjected to

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            The Court recognizes the Government’s argument at the hearing that a bond based upon
Defendant’s residence is of little value because the home is subject to a lis pendens lien in light of the
forfeiture allegations. However, there is value in this imposed condition in the sense that the home is subject
to automatic forfeiture should Defendant fail to appear, without the need to prove the forfeiture allegations.

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home confinement and electronically monitored at all times. The Court believes that these

conditions, in addition to those imposed by Magistrate Judge Bryant, will reasonably ensure

Defendant’s presence for all court proceedings.

        Finally, the Court finds that the Government has failed to establish any real danger to the

community. “In terms of dangerousness, Congress thought it was especially significant if the

charges include ‘a crime of violence . . . a Federal crime of terrorism, . . . or involve[] a . . . firearm,

explosive, or destructive device.” Stone, 608 F.3d at 947 (quoting, 18 U.S.C. § 3142(g)(1)).

Congress also thought it significant if the crime “involves a minor victim” or alleges a violation of

“Section 1591” relating to the sex trafficking of children. 18 U.S.C. § 3242(g)(1).

        Except for the allegations relating to the possession of firearm by an alien illegally in the

United States as set forth in Count 29, the charges against Defendant are not of that ilk. Instead,

they are primarily financial crimes.

        A defendant charged with economic crimes can be “dangerous” to the community should the

crimes continue on detention, e.g., a “serial defrauder,” United States v. Giordano, 370 F. Supp. 2d

1256, 1270 (S.D. Fla. 2005), but virtually any crime can be repeated while on bail. Nevertheless,

“the default position of the law. . . is that a defendant should be released pending trial,” a position

which only is modified in favor detention “for certain, particularly dangerous defendants,”

specifically those accused of the “crimes listed in section 3142(e)(3).” Stone, 608 F.3d at 948.

        The fact that firearms were found in Defendant’s home does not readily lend itself to the

conclusion that he is a threat to himself or others. His possession is illegal based upon his status of

being an illegal alien, just as the status of being a felon makes possession of a firearm illegal. But

it does not follow that mere possession equates with dangerousness. As has been explained:


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       Possession of a firearm can occur in an array of non-violent circumstances,
       weakening the link between possession and violence:

               “One can easily imagine a significant likelihood that physical harm
               will often accompany the very conduct that normally constitutes, say,
               burglary or arson. It is much harder, however, to imagine such a risk
               of physical harm often accompanying the conduct that normally
               constitutes firearm possession, for simple possession, even by a felon,
               takes place in a variety of ways (e.g., in a closet, in a storeroom, in a
               car, in a pocket) many, perhaps most, of which do not involve likely
               accompanying violence.

United States v. Bowers, 432 F.3d 518, 521 (3rd Cir. 2005) (quoting United States v. Singleton, 182

F.3d 7, 14-15 (D.C. Cir. 1999)); see also United States v. Lane, 252 F.3d 905, 906-07 (7th Cir. 2001)

(“Most felonies after all are not violent . . . and ex-felons have the same motives as lawful possessors

of firearms to possess a firearm—self-defense, hunting, gun collecting, and target practice”); United

States v. Hardon, 1998 WL 320945, at *1 (6th Cir. June 4, 1998) (possession of a firearm and

ammunition by a felon in violation of 18 U.S.C. § 922(g) is not a crime of violence for purposes of

the Bail Reform Act).

       Because Defendant is charged with being an illegal alien in possession of a firearm, his

offense qualifies as “any felony ... that involves ... possession or use of a firearm,” 18 U.S.C. §

3142(f)(1)(E). However, this offense alone does not qualify for a rebuttable presumption of

detention, and Defendant is not alleged to have committed the qualifying offenses for the

presumption under either 18 U.S.C. § 3142(e)(2) or (e)(3). See United States v. Vencomo-Reyes,

2011 WL 6013546, at *7-8 (D.N.M. Nov. 28, 2011). Moreover, the guns found at his home have

been confiscated pursuant to the search warrant executed on February 11, 2014, and a standard

condition of release which Magistrate Judge Byrant imposed – and this Court will likewise impose

– is that Defendant not possess a firearm, destructive device, or other dangerous weapon.


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                                                IV.

       Based upon the foregoing, the Court concludes that the Government has not carried its

burden of showing that detention is warranted and, accordingly, its Emergency Motion to Review

Release Order (Docket No. 26) is hereby DENIED to the extent that it requests that Defendant be

detained pending trial. The Court FINDS that there are conditions of release that will reasonably

ensure Defendant’s appearance at all court dates and ensure the safety of the community. In addition

to the standard conditions of release and those imposed by Magistrate Judge Bryant, the Court will

require that Defendant post a $100,000 bond secured by $10,000 in cash and the forfeiture of his

residence should he fail to appear as required. Defendant will also be subjected to home

confinement and electronic monitoring.

       This file is RETURNED to Magistrate Judge Bryant, along with an executed copy of AO

Form 199 “Order Setting Conditions of Release.” The Court requests that Magistrate Judge Bryant

process whatever forms are necessary for Defendant’s release in accordance with this Order, and

secure Defendant’s signature on the appropriate paperwork.

       It is SO ORDERED.



                                                      ____________________________________
                                                      KEVIN H. SHARP
                                                      UNITED STATES DISTRICT JUDGE




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